AO 440 (Rev. 06/£2) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of New York

GREGORY BERGMAN }
}
)
}
Plaintiff(s) )
v. ) Civil Action No. 1:23-cv-07112
KEITH MCNALLY )
)
)
)
Defendant(s) )
SUMMONS IN A CIVIL ACTION
Keith McNaliy

To: Mefendant’s name and address) 43 Wright Avenue

Lynbrook, NY 11563

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it} — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a}(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: TURTURRO LAW, P.C,

1361 N. Railroad Avenue
Staten Island, NY 10306

If you fail to respond, judgment by default wili be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

